          Case 1:21-cv-00824-DHU-KK Document 46 Filed 05/04/22 Page 1 of 3




                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

STATE OF NEW MEXICO EX REL.
HECTOR BALDERAS, ATTORNEY
GENERAL,

          Plaintiff,

v.                                                      Case No. 1:21-CV-00824-DHU-KK

ROVIO ENTERTAINMENT
CORPORATION,

           Defendant.

                             NOTICE OF COMPLETION OF BRIEFING

          COMES NOW Rovio Entertainment Corporation (“Rovio”), by and through its attorneys

of record, and pursuant to D.N.M.LR-Civ. 7.4(e), hereby submits this notice completion of

briefing on its Rule 12(B)(1) and 12(B)(6) Motion to Dismiss Plaintiff’s Complaint [Dkt. 1] and

certifies that it is ready for decision. The following documents were filed with the Court:

Doc. No.        Date Filed      Name of Document

     32           03/09/2022 Defendant Rovio Entertainment Corporation’s Rule 12(B)(1) and
                             12(B)(6) Motion to Dismiss Plaintiff’s Complaint [Dkt. 1]

     39           04/06/2022 Plaintiff’s Opposition to Defendant’s Motion to Dismiss Plaintiff’s
                             Complaint

     45           05/04/2022 Defendant Rovio Entertainment Corp.’s Reply in Support of its Rule
                             12(B)(1) and 12(B)(6) Motion to Dismiss Plaintiff’s Complaint [Dkt.
                             32].

          Dated: May 4, 2022.
Case 1:21-cv-00824-DHU-KK Document 46 Filed 05/04/22 Page 2 of 3




                        Respectfully submitted,

                        BROWNSTEIN HYATT FARBER SCHRECK, LLP

                        By /s/ Eric R. Burris
                           Eric R. Burris
                           Debashree (“Reema”) Nandy
                           Joseph C. Haupt
                           201 Third Street NW, Suite 1800
                           Albuquerque, NM 87102
                           Telephone: (505) 244-0770
                           Facsimile:         (505) 244-9266
                           E-mail: eburris@bhfs.com
                           rnandy@bhfs.com
                           jhaupt@bhfs.com

                        NORTON ROSE FULBRIGHT US LLP

                        Jason K. Fagelman (admitted pro hac vice)
                        Philip A. Tarpley (admitted pro hac vice)
                        Megan J. Soliz (admitted pro hac vice)
                        2200 Ross Avenue, Suite 3600
                        Dallas, TX 75201-7932
                        Telephone: (214) 855-8000
                        Facsimile: (214) 855-8200
                        E-mail: jason.fagelman@nortonrosefulbright.com
                        philip.tarpley@nortonrosefulbright.com
                        megan.soliz@nortonrosefulbright.com

                        Chris Cwalina (pro hac vice application to be filed)
                        799 9th Street NW, Suite 1000
                        Washington, DC 20001-4501
                        Telephone: (202) 662-0200
                        Facsimile: (202) 662-4643
                        E-mail: chris.cwalina@nortonrosefulbright.com




                                         NOTICE OF COMPLETION OF BRIEFING
                                                                 Page 2 of 3
           Case 1:21-cv-00824-DHU-KK Document 46 Filed 05/04/22 Page 3 of 3




                                       Steven Roosa (pro hac vice application to be filed)
                                       1301 Avenue of the Americas
                                       New York, NY 10019-6022
                                       Telephone: (212) 318-3000
                                       Facsimile: (212) 318-3400
                                       E-mail: steven.roosa@nortonrosefulbright.com

                                       Attorneys for Defendant Rovio Entertainment
                                       Corporation

                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on May 4, 2022, a true and correct copy of foregoing
NOTICE OF COMPLETION OF BRIEFING was filed electronically pursuant to CM/ECF
procedure for the United States District Court for the District of New Mexico, which caused the
parties to be served via electronic means, as more fully reflected on the Notice of Electronic
Filing.

                                                    /s/ Eric R. Burris
                                                    Eric R. Burris
24119436




                                                        NOTICE OF COMPLETION OF BRIEFING
                                                                                Page 3 of 3
